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UNITED STATES DISTRICT COURT

DISTRICT OF NORTH DAKOTA
United States of America, ) Case No. 3:22-cr-00184
)
Plaintiff, )
) DEFENDANT’S REPLY TO UNITED
vs. ) STATES’ OBJECTION TO
) DEFENDANT’S MOTION
Jessica Marie Trottier, a/k/a ) REQUESTING PERMISSION FOR
Jessica Marie Lattergrass, J USE OF COMPUTER HARDWARE
)
Defendant. )

[{1] The Defendant, Jessica Marie Trottier, a/k/a Jessica Marie Lattergrass, through her
attorney, Thomas A. Dickson, submits this Reply to United States’ Objection to Defendant’s
Motion Requesting Permission for Use of Computer Hardware. The Court is considering the
United States’ Objection as a Motion for Reconsideration. The Defendant objects to the United

States’ Motion.

[{2] The United States? Motion could be filed as Exhibit A on the issue involving Ms. Trottier’s
incompetency or her lack-of criminal responsibility. The difficulties of this case have been brought
to the attention of the Court on several occasions. A brief timeline of what has transpired in this

case is provided below:

a) October 5, 2022 ~ Ms. Trottier and ten (10) co-defendants were Indicted.

b) December 6, 2023 -- The Court entered the Superseding Indictment.

c) April 11, 2024 — Ms. Trottier’s previous counsel filed a Motion for Competency or
Psychological Evaluation.

d) April 11,2024 — The Court entered the Second Superseding Indictment.

e) April 22, 2024 — Ms. Trottier’s previous counsel was terminated.

f) April 30, 2024 —Attorney Dickson was appointed CJA counsel to Ms. Trottier.

g) July 17,2024 — The Court-entered the Third Superseding Indictment.

h) August 30, 2024 — Ms. Trottier’s Psychiatric Report was received.

i) October 31,2024 — Ms. Trottier’s competency hearing was cancelled.

j) January 2, 2025 — Ms. Trottier filed her Motion for permission for use of computer
hardware.
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k) January 8, 2025 — Attorney Moeckel was appointed CJA co-counsel to Ms. Trottier.
1) January 24, 2025 — Magistrate Senechal granted Ms. Trottier’s Motion for permission for
use of computer hardware.

[{3] This case began on September 19, 2022. Ms. Trottier has been incarcerated since
September 21, 2022. Ms, Trottier and nineteen (19) co-defendants have been indicted. Out of the
twenty (20) defendants in this case, eighteen (18) have pled guilty. The only defendants left are
Cesar Ambrosio Lopez and Ms. Trottier. The odds of Mr. Ambrosio Lopez going to trial are low.
It is no secret that all nineteen (19) co-defendants will be testifying against Ms. Trottier. She
already knows who has cooperated and provided information.
[74] It should be noted that current defense counsel live in Bismarck and Florida. Both counsel
were requested to accept appointments to defend Ms. Trottier. Neither defense counsel for Ms.
Trottier can afford the time it will require to review the voluminous discovery in the Cass County
Jail or Burleigh County Jail in this case. Thus, the United States’ suggestion to move Ms. Trottier
to Burleigh/Morton does not alleviate the undue burden on the defense counsel. Whether defense
counsel sits in the jail with her or she is able to access in jail on a computer, does not change the
fact that she is getting the information regardless.
[{5] The point of this Motion is to facilitate and nurture the attorney-client relationship between
Ms. Trottier and her defense counsel. Notwithstanding the nine (9) trips the defense counsel has
made to the Cass County Jail to visit Ms. Trottier, that relationship currently stands on thin ice.
The relief requested in this Motion is necessary for that reason. [f Sean Combs, with his vast
resources and long history of coercion, violence, and intimidation, can be allowed to review his

discovery materials in jail, then so can someone who has no resources. See Exhibit A - Indictment

and Order.
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[{6] The defense respectfully requests Ms. Trottier be allowed to view the discovery under the
supervision of the Cass County Jail.
DATED this 3% day of February, 2025.

_/s/ Thomas A. Dickson

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DECLARATION OF SERVICE

I, Ashley Miller, hereby declare that I am of legal age and not.a party to the above-entitled
matter, On February 3, 2025, the following document(s):

1. DEFENDANT’S REPLY TO UNITED STATES’ OBJECTION TO DEFENDANT’S
MOTION REQUESTING PERMISSION FOR USE OF COMPUTER
HARDWARE; and

2. EXHIBIT A.

were filed electronically with the Clerk of Court through ECF, and that ECF will send a Notice of
Electronic Filing (NEF) to the following:

Brett M. Shasky — brett.shasky(@usdoj.gov
Alexander Stock — alexander.stock@usdoj.gov

Dawn Deitz — dawn.dietz@usdoj.gov

I declare, under penalty of perjury under the law of North Dakota, that the foregoing is true
and correct.

Signed this 3 day of February, 2025, at Bismarck, ND USA.

Ashley Miller ~

